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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

CASENO. 18-cv-61017 Altonaga

FEDERAL TRADE COMMISSION, FILED BY le? Be °
Plaintiff, MAY -7 2018
STEVEN M. LARIMORE
CLERK US, DIST. CT.
v. S.D. OF FLA. FT, LAUD.

POINTBREAK MEDIA, LLC, a limited liability company,
also d/b/a Point Break Media, Point Break Solutions, and

Kivanni Marketing,

DCP MARKETING, LLC, a limited liability company, also | COMPLAINT FOR

d/b/a Point Break, PERMANENT INJUNCTION
AND OTHER EQUITABLE

MODERN SPOTLIGHT LLC, a limited liability company, | RELIEF

MODERN SPOTLIGHT GROUP LLC, a limited lability Filed Under Seal
company, also d/b/a Modern Spotlight,

MODERN INTERNET MARKETING LLC, a limited
liability company,

MODERN SOURCE MEDIA, LLC, a limited liability
company, also d/b/a Modern Source,

PERFECT IMAGE ONLINE LLC, a limited liability Fy
compan Sc R LED
DUSTIN PILLONATO, individually and as an officer of SEP ty 20g

Pointbreak Media, LLC, DCP Marketing, LLC, and Modern | PER
Source Media, LLC, ah

JUSTIN RAMSEY, individually and as an officer of
Pointbreak Media, LLC,

AARON MICHAEL JONES, a/k/a Michael Aaron Jones
and Mike Jones, individually and as an officer of Pointbreak
Media, LLC,

RICARDO DIAZ, individually and as an officer of
Pointbreak Media, LLC,

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MICHAEL POCKER, individually and as an officer of
Modern Spotlight LLC and Modern Spotlight Group LLC,

STEFFAN MOLINA, individually and as an officer of
Modem Spotlight Group LLC and Perfect Image Online
LLC,

Defendants.

Plaintiff, the Federal Trade Commission (“FTC” or “Commission”, for its Complaint
alleges:

1. The FTC brings this action under Section 13(b) of the Federal Trade Commission
Act (“FTC Act”), 15 U.S.C. § 53(b), to obtain temporary, preliminary, and permanent injunctive
relief, rescission or reformation of contracts, restitution, the refund of monies paid, disgorgement
of ill-gotten monies, and other equitable relief for Defendants’ acts or practices in violation of
Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),
and 1345, and 15 U.S.C. §§ 45(a) and 53(b).

3. Venue is proper in this district under 28 U.S.C. § 1391(b)(2-3), (d) and 15 U.S.C.
§ 53(b).

PLAINTIFF

4, The FTC is an independent agency of the United States Government created by
statute. 15 U.S.C, §§ 41-58. The FTC enforces Section 5(a) of the FTC Act, 15U.S.C. § 45(a),
which prohibits unfair or deceptive acts or practices in or affecting commerce.

5. The FTC is authorized to initiate federal district court proceedings, by its own

attorneys, to enjoin violations of the FTC Act, and to secure such equitable relief as may be

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appropriate in each case, including rescission or reformation of contracts, restitution, the refund
of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 56(a)(2)(A).
DEFENDANTS
6. Defendant Pointbreak Media, LLC (‘Point Break”), also doing business as Point

Break Media, Point Break Solutions, and Kivanni Marketing, is a Delaware limited liability

|
company with its principal place of business in Boca Raton or Deerfield Beach, Florida. Point
Break transacts or has transacted business in this district and throughout the United States.

7. Defendant DCP Marketing, LLC (“DCP Marketing”), also doing business as
Point Break, is a Florida limited liability company with its principal place of business in Boca
Raton, Deerfield Beach, or Lake Worth, Florida. DCP Marketing transacts or has transacted
business in this district and throughout the United States.

8. Defendant Modern Spotlight LLC (“Modern Spotlight”) is a Florida limited
liability company with its principal place of business in Boca Raton or Deerfield Beach, Florida.
Modern Spotlight LLC transacts or has transacted business in this district and throughout the

United States.

9. Defendant Modern Spotlight Group LLC (“Modern Spotlight Group”), also doing
business as Modern Spotlight, is a Florida limited liability company with its principal place of
business in Boca Raton or Deerfield Beach, Florida. Modern Spotlight Group transacts or has
transacted business in this district and throughout the United States.

10. Defendant Modern Source Media, LLC (“Modern Source”), also doing business
as Modern Source, is a Florida limited liability company with its principal place of business in
Boca Raton or Deerfield Beach, Florida. Modem Source transacts or has transacted business in

this district and throughout the United States.

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11. Defendant Modern Internet Marketing LLC (‘Modern Internet Marketing”) is a
Florida limited liability company with its principal place of business in Boca Raton or Deerfield
Beach, Florida. Modern Internet Marketing transacts or has transacted business in this district
and throughout the United States.

12. Defendant Perfect Image Online LLC (“Perfect Image Online”) is a Florida
limited liability company with its principal place of business in Boca Raton or Deerfield Beach,
Florida. Perfect Image Online transacts or has transacted business in this district and throughout
the United States.

13. Defendant Dustin Pillonato (“Pillonato”) is an owner and manager of Point Break,
DCP Marketing, and Modern Source, At times material to this Complaint, acting alone or in
concert with others, he has formulated, directed, controlled, had the authority to control, or
participated in the acts and practices set forth in this Complaint. Pillonato resides in West Palm
Beach, Florida and, in connection with the matters alleged herein, transacts or has transacted
business in this district and throughout the United States.

14. Defendant Justin Ramsey (“Ramsey”) is an owner and manager of Point Break.
At times material to this Complaint, acting alone or in concert with others, he has formulated,
directed, controlled, had the authority to control, or participated in the acts and practices set forth
in this Complaint. Ramsey resides in Boca Raton, Florida and, in connection with the matters
alleged herein, transacts or has transacted business in this district and throughout the United
States. .

15. Defendant Aaron Michael Jones (“Jones”) is an owner and manager of Point
Break. At times material to this Complaint, acting alone or in concert with others, he has

formulated, directed, controlled, had the authority to control, or participated in the acts and

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practices set forth in this Complaint. Jones resides in Irvine, California and, in connection with
the matters alleged herein, transacts or has transacted business in this district and throughout the
United States.

16. Defendant Ricardo Diaz (“Diaz”) is an owner and manager of Point Break. Diaz
also served as treasurer of Point Break. At times materia! to this Complaint, acting alone or in
concert with others, he has formulated, directed, controlled, had the authority to control, or

- participated in the acts and practices set forth in this Complaint. Diaz resides in Cranston, Rhode
Island and, at times material to this complaint, resided in Miramar, Florida. In connection with
the matters alleged herein, Diaz transacts or has transacted business in this district and
throughout the United States.

17... Defendant Michael Pocker (“Pocker”) is an owner and manager of Modern
Spotlight and Modern Spotlight Group. At times material to this Complaint, acting alone or in
concert with others, he has formulated, directed, controlled, had the authority to control, or
participated in the acts and practices set forth in this Complaint. Pocker resides in Boca Raton,
Florida and, in connection with the matters alleged herein, transacts or has transacted business in
this district and throughout the United States.

18. Defendant Steffan Molina (“Molina”) is an owner and manager of Modern
Spotlight Group and Perfect Image Online. Acting alone or in concert with others, he has
formulated, directed, controlled, had the authority to control, or participated in the acts and
practices set forth in this Complaint. Molina resides in Boca Raton, Florida and, in connection
with the matters alleged herein, transacts or has transacted business in this district and

throughout the United States.

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COMMON ENTERPRISE
19. Defendants Pointbreak Media, LLC, DCP Marketing, LLC, Modern Spotlight

LLC, Modern Spotlight Group LLC, Modem Internet Marketing LLC, Modern Source Media,
LLC, and Perfect Image Online LLC (collectively, “Corporate Defendants”) have operated as a
common enterprise while engaging in the acts and practices alleged below. As described in more
detail in paragraphs 88-167, Corporate Defendants have conducted these acts and practices
through a maze of interrelated companies under common or overlapping control, with common
employees, in shared office space, and with commingled funds.

20. Because these Corporate Defendants have operated as a common enterprise, each
is jointly and severally liable for the acts and practices alleged below. Defendants Pillonato,
Ramsey, Jones, Diaz, Pocker, and Molina (collectively, the “Individual Defendants”) have
formulated, directed, controlled, had the authority to control, or participated in the acts and
practices of the Corporate Defendants that constitute the common enterprise. The Individual
Defendants each had knowledge of the unlawful acts and practices of the Corporate Defendants
that constitute the common enterprise.

COMMERCE

21. At all times material to this Complaint, the Defendants have maintained a
substantial course of trade in or affecting commerce, as “commerce” is defined in Section 4 of
the FTC Act, 15 U.S.C. § 44.

DEFENDANTS’ BUSINESS ACTIVITIES
Overview
22. As described in more detail in paragraphs 28-74, Defendants operate a

telemarketing scam in which they target small business owners with false threats of removal

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from Google’s search engine and false promises of unique keywords in order to convince them
to purchase a Google “claiming and verification” service. Defendants explain that keywords are
search terms for which the consumer’s business will appear prominently in search results.
Defendants charge $300-$700 for the claiming and verification service.

23. Defendants also target each paying consumer with an upseil that falsely promises
that the consumer’s business will receive first-page placement in Google search results.
Defendants charge a flat fee of $949.99 and an additional monthly recurring charge of $169.99
or $99.99 for these search engine optimization services.

24. Inlate October 2017, when Defendants lost the ability to process credit card
transactions, they wrote themselves $100 checks from at least 250 consumers’ bank accounts
without those consumers’ knowledge or authorization.

Google My Business

25. Defendants’ initial sales pitch relates to Google’s “Google My Business” service.
Google My Business allows business owners to manage their business listings, including
updating their business information (such as hours of operation and address), adding
photographs, and responding to reviews.

26. A business owner gains control of his or her Google My Business listing by either
claiming a preexisting listing or creating a new listing and then verifying that he or she is
authorized to manage the business. The owner usually verifies his or her authority to manage the
business by providing a verification code that Google mails to the business address. Claiming
the business takes no more than 15 minutes, and verifying it after receipt of the code takes no

more than three minutes.

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27. Google does not charge business owners for claiming and verifying their business
listings, and the process does not involve identifying or claiming “keywords.” Claiming and

verifying a business with Google does not guarantee first-page placement in search results.

Defendants Target Consumers With Threatening Robocails

28. Since November 2016 at the latest, Defendants have placed threatening robocalls

to small business owners and other consumers, in an effort to induce them to “press one” to
_ speak to a live sales agent. Many consumers receive multiple robocalls daily from Defendants.

29. On these robocalls, Defendants deliver recorded messages frequently claiming to
be authorized by Google. The calls threaten that Google will label the consumer’s business
“permanently closed” unless the consumer takes action. The robocalls then invite the consumer
to “press one” to speak with a “Google specialist.”

30. One robocall, frequently used while Defendants operated as Point Break, states in
full:

Hi, this is Jennifer Taylor, data service provider for Google and
Bing. This is an urgent message for the business owner. We have
tried numerous times to contact you through mail and now by
telephone regarding your Google listing webpage. This is your
final notice. If you do not act soon, Google will label your
business as permanently closed. Press one now to speak with me
or another Google specialist.

Did you know that 74 percent of your customers search online
before making a purchase? If your Google listing is shut down,
you will lose on all of those potential customers. It is critical that
you, the business owner, take advantage of this rare opportunity to
get ahead of your competition. Press one now to find out how to
validate your free Google listing.

This message applies to all business owners. If you are the
business owner, press one now. Press two if this is not a business
or you would like to be removed from our calling list.

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31. Another robocall, frequently used while Defendants operated as Modern
Spotlight Group, states in full:

Your Google Business listing may be inactive. Immediate action
is required.

Please press one to speak with a representative and avoid being
removed from Google.

Please press eight to be removed from this list.
32. A third robocall, also used while Defendants operated as Point Break, states in
full:

Hi, this is Jonathan Smith, third party service provider for Google
and Bing. This is an urgent message for the business owner. We
have tried numerous times to contact you by telephone regarding
your Google listing webpage. Press one now to speak with me or
another listing specialist.

Did you know that up to 74 percent of your customers could search
online before making a purchase? It is critical that you, the
business owner, take advantage of this rare opportunity to get
ahead of your competition. Press one now to find out how to
validate your listing.
This message applies to all business owners. If you are the

business owner, press one now, or press two if this is not a

business or you would like your number to be removed from the
calling list. Thank you.

33. These robocalls and others used by Defendants contain numerous false or
misleading statements.
34. The Defendants are not “service providers” for Google and have no affiliation
with or authorization from the company.
«35. Additionally, the small businesses called by Defendants face no real risk of being

removed from Google search results. Google does not label a business as permanently closed or

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“remove” it from search results simply because the business’s owner has not claimed and
verified the business.

36. Moreover, Defendants place their robocalls to many business owners who have,
in fact, already claimed and verified their businesses through Google My Business.

37. Although Defendants’ robocalls present a “press two” or “press eight” option to
be removed from the Defendants’ calling list, Defendants do not remove consumers who press
two or eight from their call lists. Defendants continue to call these consumers several times daily
or weekly.

Defendants’ Sales Agents Use False Statements to Sell Google Listing Services

38. Defendants transfer consumers who press one in response to the robocalls to a
live sales agent. The agent uses a script to lead these consumers through a sales pitch in which
he or she claims that (1} Defendants are authorized by, or affiliated with, Google; (2) the
consumer needs to pay Defendants to claim and verify the consumer’s business in order to avoid
having the business removed from, or marked permanently closed by, Google; and (3) paying
Defendants will allow the consumer to link certain “keywords” to the consumer’s Google listing,
resulting in prominent search result placement in response-to searches for those keywords.

39. These claims are all false or misleading,

40. Defendants Ramsey and Pillonato drafted the script used by Point Break’s sales
agents. Modem Spotlight Group and Perfect Image Online continue to use a similar script that
features the same three misrepresentations.

Defendants’ Claims of Google Authorization or Affiliation

41. On many calls, Defendants’ sales agents expressly tell consumers that they work

for Google.

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42. On other calls, Defendants’ sales agents admit to working for one of the
Corporate Defendants rather than Google, but call their employer an “authorized Google My
Business agency” or a contractor for Google.

43. For example, on one call recorded by a consumer, one of Defendants’ sales agents
twice identified Defendant Modern Spotlight Group as “an authorized Google My Business
agency,” later adding that Google had authorized Modern Spotlight Group to “claim and verify
Google business listings.”

44,  Adifferent sales agent made the same representation on a call with an undercover
FTC investigator, identifying Modern Spotlight Group as an “authorized Google — Google My
Business agency.” The agent claimed that Google had “contract[ed] out” with Modern Spotlight
Group. Later on the same call, a different sales agent identified himself as a “senior authorized
Google My Business representative” and again identified Modern Spotlight Group as an
“authorized Google My Business agency.”

‘45. On another call recorded by a consumer, one of Defendants’ sales agents
explained that Point Break is “like the umbrella under Google.” On yet another call recorded by
a different consumer, a sales agent from Point Break claimed, “We work directly parallel with
Google. ... Google Corporate ..., they would reach out to like Walmart, Costco, Target,
Starbucks, because they have multiple locations in just one distinctive area. That’s why they
have companies like us to reach out to small to medium size companies.”

46. Even when Defendants’ sales agents do not affirmatively claim that one of the
Corporate Defendants is an “authorized Google My Business agency,” they fail to correct the
misrepresentation made on many of the immediately preceding robocalls that the caller is a

“service provider for Google.” Instead, for example, the script drafted by Ramsey and Pillonato

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builds on the robocall’s misrepresentation by directing the sales agents to start the call by
declaring themselves “here to assist you with your Google listing” and stating that “our system”
“shows your Google Listing (for name of company) has not been claimed or verified.” The
script directs Defendants’ sales agents only to identify their employer if directly asked.

47. Defendants’ claims described in paragraphs 41-46 are false.

48. Google has not authorized any of the Defendants to act on its behalf, and Google
is in no way affiliated with any of the Defendants. Google has not contracted with Defendants to
claim and verify Google listings. Google also does not approve, sponsor, or endorse the
Defendants’ services.

Defendants’ Threats of Removal from Google

49. Defendants’ sales agents usually start their sales calls by claiming that the
consumer’s Google business listing “has not been claimed or verified.”

50. The sales agents proceed to state that because the consumer has not claimed and
verified his or her business, the business “run[s} the risk of possibly being removed from the
search engine or pushed so far down the search engine that no one will find you.”

5t. | Defendants’ sales agents then offer to help consumers avoid removal from Google
by claiming and verifying the consumer’s Google business listing on the consumer’s behalf.

52. | When consumers attempt to decline Defendants’ services, the sales agents
frequently return to threats of removal from Google. For example, when an undercover FTC
investigator asked what would happen if she did not pay Defendant Point Break’s fee, the agent
replied, “Well, ma’am, then you are going to be running the risk of possibly being removed from

Google. Google did give you a designated time slot to verify your business with them and you

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did not meet that.” When the investigator nevertheless declined, the agent replied, “Have fun
being removed from the Internet” and hung up.

53. On another undercover call with Defendant Modern Spotlight Group, an FTC
undercover investigator confirmed, “[I]f I don’t claim and verify, do I get removed from Google?
Is that how this works?” The agent replied, “Yes.” The agent then proceeded to claim that,
“You actually have the basic listing . . . . It’s a basic listing that Google gave to every business
five years ago. It’s a simple name, address, and phone number listing. But right now, as the
owner, it is your job to have the listing claimed.and verified, marked as a trusted, open-for-

business company because you guys are at risk of being removed because you’re showing up
improperly.”

54. Similarly, the script drafted by Ramsey and Pillonato for Point Break states, “Four
years ago Google gave every business in the United States a Google Plus Page in hopes that
businesses would claim and verify themselves.”

55. Defendants’ claims described in paragraphs 49-54 are false.

56. Google does not “remove” a business from the search engine simply because the
business owner has not claimed and verified it.

57. In fact, unclaimed business listings often appear in Google search results.

58. Defendants also claim that consumers’ businesses are not claimed and verified
even when that statement is untrue.

59. Google did not give “every business” a “basic listing” or a “Google Plus Page”

five years ago.

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Defendants’ Promises of Unique Keywords Linked to the Consumer's Business

60. After making their threats of removal from Google, Defendants’ sales agents
pivot to offering the consumer certain “keywords” as part of the claiming and verification
process.

61, The Point Break script directs agents to explain that “[p]art of the claiming and
verification process is registering your keywords, so you come up prominently when someone is
searching for your goods and services.”

62. Defendants’ sales agents tell consumers that their businesses will appear on the
first page of search results when potential customers search on Google for the keywords.

63. | Onsome calls, Defendants’ sales agents promise consumers that these keywords
will be unique to the consumers’ business, such that no other business can use them.

64. For example, on one call recorded by a consumer, Point Break’s sales agent stated
that the business owner would get “a list of keywords that nobody else can use in the world
because they are your keywords.” When the consumer sought to confirm that “nobody else can
use the [keywords],” the agent responded, “Yes, sir, no one else can use them.”

65. Similarly, an undercover FTC investigator asked, “[ With the service I guess the
keywords are—are specifically for my business and no one else can use the keywords[?]” Point
Break’s sales agent confirmed that this was correct.

66. | Defendants’ claims described in paragraphs 60-65 are false.

67. Defendants do not register or claim any keywords for consumers with Googie,
much less “unique” keywords.

68. In fact, Google does not provide the option to “register,” or claim, “keywords” as -

part of the Google My Business claiming and verification process.

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69, | Consumers who have signed up for Defendants’ services see no change in their
search results, even when searching for the keywords that Defendants claim to have registered
for them.

70. After this sales pitch, Defendants’ sales agents tell consumers that there is a
purported one-time fee for the claiming and verification “services” offered by Defendants. That
fee generally ranges from $300-700. If consumers ask earlier in the call whether there will be a
cost, the sales agent sometimes tells the consumer that he or she is not yet sure. Other times, the
sales agent does not provide a specific cost, and instead claims that a computer will generate a
fee that depends on the consumer’s industry and location.

71. | Consumers who sign up for Defendants’ services provide either their credit card
or checking account information to Defendants.

72. Whena consumer provides checking account information, Defendants generate a
remotely created check that draws on the consumer’s account.

73. | Aremotely created check is processed through the banking system much like a
traditional check, but without a consumer’s signature, instead bearing a statement such as
“Authorized by Account Holder.” The check is created by the payee—here, one of the
Corporate Defendants—rather than the individual or business on whose account the check is
drawn.

74.  - After paying Corporate Defendants, some consumers receive a contract that
Defendants’ sales agents ask them to sign electronically. In the contract, Corporate Defendants
promise to “build out the Google Maps link, a Google Plus page and a Google my Business
listing” and to “use specific keywords and/or phrases set forth to impose the above business [sic]

online visibility on Google.” The contract does not set forth any keywords or phrases.

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Defendants Upsell Consumers on a “Citation Program”

75. Shortly after making the initial payment, consumers receive an email or phone
call from a “senior business analyst” working for one of the Corporate Defendants, typically
either Point Break or Modern Source. The analyst claims he or she was assigned to the
consumer’s new Google listing and is calling to finalize the business listing.

76. On the follow-up call, rather than finalizing the business listing, the “senior
business analyst” promotes a “Citation Program” that he or she claims will result in the
consumer’s business being listed on fifty additional search engines.

77. Defendants tell consumers that this program will ensure prominent placement on

Google. They usually tell consumers that their business will become the first search result or one

of the first search results. Defendants sometimes tell consumers that the service has never failed
a single customer. On one call, a Modern Source sales agent told an undercover FTC
investigator, “I don’t care if you’re pizza or if you’re a plumber, I have seen this [program] work
every single time.” He elaborated, “[W]e have a little over 4,500 clients in this secondary
program, and it has worked for every one of them.”
78. The senior business analyst does not correct any of the misrepresentations made
on the Defendants’ previous conversations with the consumer. The analyst, for example, does
not correct the prior misrepresentation that the Defendants are authorized by, or affiliated with,
Googie.

79, The Citation Program costs a one-time fee of up to $949.99 and recurring monthly
payments typically equal to $169.99 or $99.99. Defendants tell consumers that the monthly
payments are necessary because completing the work will take several months. There is no end

date for the recurring charges.

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80. | Consumers pay for the Citation Program by providing their credit card or
checking account information to Defendants. Then, Defendants either charge the credit card or
generate a remotely created check that they deposit into one of their bank accounts.

81. | Defendants send consumers who agree to this upsell a “Citation Services and
Reporting Agreement” to sign electronically. The contract states that one of the Corporate
Defendants “is authorized to use the specific keywords and/or phases [sic] set forth below for
development and improving the ranking in Citations and/or directories that are most frequently
used by the general public which are defined below.” The contract, however, never sets forth
any keywords or directories.

82. __ The contract also promises that the consumer’s “search results will be strong and
constantly improve.”

83. Defendants’ claims are false or misleading. No third party, including Defendants,
can guarantee that a business will appear on the first page of Google search results.

84. | Consumers who sign up for the Citation Program see little or no improvement in

their search results.

Defendants’ Unauthorized Consumer Billing
85. In late October 2017, Bank of America Merchant Services closed Point Break’s

merchant account because of Point Break’s “predatory services, scare tactics and processing
history with high chargeback ratios.” As a result, Point Break lost the ability to accept payments
by credit card.

86. Inresponse, Defendants simply took money, usually $100, from at least 250 of

their prior or existing customers’ checking accounts without those customers’ advance

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knowledge, consent, or authorization, and without any apparent reason or justification. Prior to
this time, Defendants had not sold any services for which they regularly charged $100.

87. Defendants took this money by generating remotely created checks written out to
Point Break Media, often with “Google/Apple/Bing” in the memo line, Defendant Ramsey
endorsed each check before depositing it into one of two different Point Break checking accounts
at two different banks.

DEFENDANTS’ COMMON ENTERPRISE AND
SHIFTING CORPORATE IDENTITIES

88. Since November 2016, Defendants have operated their common enterprise
through a series of business aliases and limited liability companies. These entities have all
performed functions related to the unfair and deceptive practices outlined above. They have
shared owners, managers, office space, and employees, and have commingled funds.

 Pointhreak Media, LLC

89. Pointbreak Media, LLC formed in Delaware in May 2016.

90. Point Break filed in July 2017 for authorization to transact business in Florida.
The filing identified Point Break’s principal office and mailing address as 951 Broken Sound
Parkway, Suite 188, Boca Raton, FL 33487.

91. Point Break’s July 2017 filing identified Defendants Pillonato, Ramsey, Jones,
and Diaz as “Managing Members” of Point Break. The filing also identified Diaz as Point
Break’s Treasurer and registered agent.

92. Ramsey swore to the accuracy of the July 2017 filing, and Diaz also signed the
filing as Point Break’s registered agent.

93. From November 2016 until December 2017, Point Break engaged in the unlawful

acts and practices described in paragraphs 22-87 above. Specifically, Point Break used deceptive

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claims to sell Google “claiming and verification” services to consumers, upsold those victims on
the Citation Program service by using additional deceptive claims, and then, in October 2017,
took $100 from over 250 consumers without authorization.

94. | From November 2016 until March 2017, Point Break did business as “Kivanni
Marketing.”

95. Since March 2017, Point Break has done business as Point Break Media and Point
Break Solutions.

96. Ramsey opened at least three merchant bank accounts for Point Break, through
which Point Break processed credit card transactions. Two of the merchant accounts operated
under the “Kivanni Marketing” name, while a third operated as “Pointbreak Media, LLC.”

97. Defendants have held money obtained from consumers in at least two checking
accounts and one savings account. Ramsey and Pillonato are signatories on both checking
accounts. Ramsey is a signatory on the savings account.

98. In March 2017, Pillonato, acting on behalf of Point Break, signed a “cloud contact
center” Master Services Agreement with a telecommunications company from which Pillonato
obtained toll-free numbers that both Point Break and Modern Source provided to consumers.

99. Defendant Point Break sent or received money, either directly or indirectly, to and
from Defendants Ramsey, Pillonato, Jones, Diaz, DCP Marketing, Modern Spotlight, Modern
Spotlight Group, and Modern Internet Marketing.

100. For most of 2017, Point Break paid the rent at the Defendants’ 951 Broken Sound
Parkway, Suite 188, Boca Raton, FL 33487 address. Diaz signed a lease for use of that office

space on behalf of non-party ConsultMe, LLC,

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101. Throughout Point Break’s existence, but especially in late 2017, it faced mounting
obstacles, primarily in the form of increased public awareness of its scam and increased scrutiny
from banks and credit card processors.

102. In July 2017, for example, a private plaintiff sued Point Break, Ramsey, and
Pillonato for violations of the Telephone Consumer Protection Act. Within a few weeks, the
plaintiff voluntarily dismissed the case after reaching a settlement agreement with Defendants.

103. Two months later, in September 2017, a different plaintiff filed a new Telephone
Consumer Protection Act complaint. In early November 2017, the plaintiff voluntarily dismissed
the case.

104. Throughout this time period, consumers repeatedly made complaints about Point
Break, both to the FTC and on public internet forums. Point Break’s own Google business
listing, for example, was littered with reviews from angry consumers.

105. In October 2017, a reporter from Boston’s local Fox affiliate showed up
unannounced at Point Break’s call center to confront Ramsey. Ramsey declared that he was
“follow[ing] all the rules,” but admitted that he was doing “Google listings” work. Shortly
thereafter, the Fox affiliate aired, and posted to its website, a story highlighting Ramsey and
Point Break’s robocall operation.

106. At around the same time, on October 20, 2017, a representative from Bank of
America Merchant Services contacted Ramsey to inform him that the bank had decided to close
the account that Point Break used to process credit card transactions. The bank’s internal notes
blame the closure on “the merchant’s predatory services, scare tactics and processing history
with high chargeback ratios.” In the first twenty days of the month, Point Break had processed

over $125,000 in credit card charges.

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107. Ramsey attempted to export his Point Break customer list from Bank of America
- Merchant Services on or around October 23, 2017. Ramsey also sought to transfer all of Point
Break’s recurring charges to another payment gateway.

108. Having lost the ability to receive credit card payments and apparently in need of
cash, Point Break simply started writing checks to itself out of consumers’ bank accounts, taking
over $25,000 in just three days. Ramsey endorsed all of these checks.

109. At around the same time, on October 21, 2017, Ramsey opened a new Point
Break checking account, the company’s first account at Wells Fargo Bank. On October 25,
2017, Ramsey added Pillonato as a signatory to that account, identifying him as a “part owner”
of Point Break.

110. Defendants split their deposits of the unauthorized checks between their existing
Bank of America and new Wells Fargo checking accounts between October 24, 2017 and
October 26, 2017.

111. Once it had reestablished itself at Wells Fargo, Point Break continued operations,
but told consumers that they could only pay by providing bank account information rather than
by credit card.

112. By early December 2017, Point Break had stopped making new sales. In January
2018, it withdrew its authorization to conduct business in Florida. Since January 2018, Point
Break has continued to answer calls from consumers who previously had signed up for its
services.

DCP Marketing, LLC
113. Pillonato formed DCP Marketing, LLC in Florida in March 2016.

114. Pillonato is the registered agent and sole manager for DCP Marketing. .

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115. Pillonato is the sole signatory on at least two of DCP Marketing’s checking
accounts.

116. In late August and early September 2017, as pressure mounted on Point Break,
DCP Marketing received over $61,000 from Point Break and funneled the money through
Defendant Modern Internet Marketing and Defendant Molina to Defendant Modern Spotlight.

117. Specifically, between August 25 and August 31, 2017, Point Break wired over
$71,000 to DCP Marketing. Between August 25 and September 15, DCP Marketing then
transferred over $61,000 of that $71,000 to Modern Internet Marketing. Modern Internet
Marketing, in turn, transferred the money received from DCP Marketing to Modern Spotlight,
either directly or through Molina.

118. These transactions occurred at around the same time that Pocker and Molina
formed and began operating Modern Spotlight Group.

119. Additionally, on November 13, 2017, just weeks after Point Break lost the ability
to charge consumers’ credit cards, DCP Marketing established a merchant account, doing
business as “Point Break.”

120. DcP Marketing used this account to continue Point Break’s recurring charges—of
either $169.99 or $99.99 per month—of consumers who had enrolled in the Citation Program.

121. At around the same time, DCP Marketing started to deposit into its own account
remotely created checks written to Point Break Media. Ramsey endorsed these checks.

122. In November 2017, DCP Marketing also paid the monthly rent at the Defendants’
951 Broken Sound Parkway, Suite 188 address, despite the lease remaining in the name of

Defendant Diaz’s ConsultMe, LLC.

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123. Additionally, in early December 2017, when Point Break stopped paying
employees, DCP Marketing started paying some of those employees. Modern Spotlight Group
began paying others on November 22, 2017.

124, DCP Marketing sent or received money, either directly or indirectly, to and from
Defendants Pillonato, Molina, Point Break, Modern Spotlight, Modern Spotlight Group, Modern
Internet Marketing, and Modern Source Media.

Modern Spotlight LLC and Modern Spotlight Group LLC

125. Defendant Pocker and non-party Paul DeCamara formed Defendant Modern
Spotlight LLC in Florida on March 6, 2017.

126. Pocker is a manager of Modern Spotlight and its registered agent.

127. Pocker is a signatory on at least two Modern Spotlight checking accounts.

128. Between March and June 2017, Modern Spotlight sold Google “claiming and
verification” services to consumers.

129. On March 14, 2017, Pocker, on behalf of Modern Spotlight, signed a lease to rent
550 Fairway Drive, Suite 104, Deerfield Beach, FL 33441. Both Modern Spotlight and Modern
Spotlight Group have made rent payments pursuant to this lease agreement.

130. As described in paragraphs 116-117 above, beginning in late August, Modern
Spotlight received over $61,000 from Point Break, via Defendants DCP Marketing, Molina, and
Modern Internet Marketing.

131. On August 30, 2017, Pocker and Molina formed Modern Spotlight Group LLC in
Florida. Pocker and Molina opened two Modern Spotlight Group checking accounts on

September 13, 2017.

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132. Pocker is Modern Spotlight Group’s registered agent, and Pocker and Molina are
- Modern Spotlight Group’s sole managers.

133. Modern Spotlight Group has at least two checking accounts, for which Pocker and
Molina are also the sole signatories.

134. Modern Spotlight Group incorporated at 550 Fairway Drive, Suite 104, Deerfield
Beach, FL 33441 and lists this address on its website.

135. Modern Spotlight Group also has or had a call center at 951 Broken Sound
Parkway, Suite 188, Boca Raton, FL 33487. Point Break and DCP Marketing have paid rent at
this address.

136. Modern Spotlight Group has participated in the deceptive acts and practices
described above by using claims of affiliation with Google, threats of removal from Google, and
promises of unique keywords to sell Google “claiming and verification” services to small
business owners, as described in paragraphs 28-74.

137. In late September 2017, Modern Spotlight Group started to pay most of the
employees whom, until the week prior, had been paid by Modern Spotlight.

138. In mid-November 2017, Modern Spotlight Group also started to pay most of the
employees whom, until the week prior, had been paid by Point Break.

139. Consumers who purchased Google listing services from Modern Spotlight Group
or Point Break received virtually identical welcome emails.

140. Modern Spotlight Group uses or used a “Google Business Listing Agreement”
that is substantially similar to the “Google listing Agreement” that Point Break used.

141. On one call with an undercover FTC investigator, a Modern Spotlight Group sales

agent confirmed the connection between Point Break and Modern Spotlight Group. When asked

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whether Point Break and Modern Spotlight Group were the same, the agent stated, “So our
company, we’re—we’re a new—we merged companies. So that company was not the greatest.
So my company bought out—the company that I work for now bought the other company out.”

142. Modern Spotlight and Modern Spotlight Group have sent or received money,
either directly or indirectly, to and from each other and Defendants Pocker, Molina, Point Break,
DCP Marketing, Modern Internet Marketing, and Modern Source Media.

143. Modern Spotlight Group and Modern Spotlight LLC each voluntarily dissolved
on February 7, 2018.

144. At around the same time that Modern Spotlight Group and Modern Spotlight
voluntarily dissolved, Modern Spotlight Group representatives emailed the company’s existing
customers to introduce themselves as “the representative assigned to your google listing.”

145. On February 23, 2018, an FTC undercover investigator called the phone number
provided in Modern Spotlight Group’s email. The representative who had sent the email told the
investigator that Modern Spotlight Group had “relocated offices three weeks ago.” When the
investigator asked for Modern Spotlight Group’s new address, the representative answered that it
was 4730 NW 2nd Avenue, Suite 200, Boca Raton, Florida. Perfect Image Online also uses this
office space.

146. When the investigator asked if “everything else was still the same,” the
representative stated, “Everything else is still the same. We just relocated offices.”

Modern Source Media, LLC
147. Pillonato formed Defendant Modern Source in Florida on November 13, 2017.

(148. — Pillonato is the registered agent and sole manager of Modern Source.

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149. Pillonato is a signatory on at least one Modern Source checking account. DCP
Marketing made the initial deposit into this account.

150. Modern Source incorporated at 550 Fairway Drive, Suite 104, Deerfield Beach,

FL 3344] and lists this address on its website.

151. Pillonato also opened a merchant account on behalf of Modem Source, through
which it has charged consumers’ credit cards. That merchant account also uses the 550 Fairway
Drive address.

152. Since November 2017, Modern Source has engaged in the acts and practices
described in paragraphs 75-84 above. Specifically, Modern Source has built on Modern
Spotlight Group’s deceptive acts and practices by deceptively upselling Modern Spotlight
Group’s victims on the Citation Program.

153. After telling an FTC undercover investigator that his company “just recently went
to [sic] a change,” a Modern Source sales agent informed the investigator that Modern Source
and Modern Spotlight were “sister compan|ies].”

154, . That same sales agent also said that he had “been with these guys for almost two
years now,” despite the fact that Modern Source had formed less than two months prior to the
conversation. The agent later added that “the old name, it was Pointbreak is what they were
going by” and then confirmed that “it went from Pointbreak to Modern Spotlight.”

155. Over two weeks prior to Modern Source’s formation, Point Break obtained a toll-
free number that Modern Source now lists on its website.

156. For consumers who agree to the upsell, Modern Source uses virtually the same

Citation Services and Reporting Agreement as Point Break.

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157, Modern Source has sent or received money, either directly or indirectly, to and

from Defendants Pillonato, DCP Marketing, and Modern Spotlight Group.
Perfect Image Online LLC

158. Defendant Molina formed Perfect Image Online LLC in Florida on December 29,

2017.
159. | Molina is the registered agent and sole manager of Perfect Image Online.

160. Molina is the sole signatory on at least one Perfect Image Online checking
account.

161. Perfect Image Online shares with Modern Spotlight Group the office space at
4730 NW 2nd Avenue, Suite 200, Boca Raton, FL 33431.

162. Since February 2018, Perfect Image Online has participated in the deceptive acts
and practices described in paragraphs 28-74 above, by using claims of affiliation with Google,
threats of removal from Google, and promises of unique keywords to sell Google “claiming and

verification” services to small business owners.

Modern Internet Marketing LLC
163. Non-party Sean Pocker, the brother of Defendant Michael Pocker, formed

Defendant Modern Internet Marketing in Florida in July 2017.

164. Modern Internet Marketing is located at 550 Fairway Drive, Suite 104, Deerfield
Beach, FL 33441.

165. As described in paragraphs 116-117 above, beginning in late August, Modern
Internet Marketing facilitated the transfer of over $61,000 from Defendant Point Break to

Defendant Modern Spotlight.

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166. Modern Internet Marketing also has transferred almost all of the other money it
has received directly to Modern Spotlight.

167. Modern Internet Marketing has sent or received money, either directly or
indirectly, to and from Defendants Molina, Point Break, DCP Marketing, and Modern Spotlight.
VIOLATIONS OF SECTION 5 OF THE FTC ACT

168. Section 5({a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts
or practices in or affecting commerce.”

169. Misrepresentations or deceptive omissions of material fact constitute deceptive
acts or practices prohibited by Section 5(a) of the FTC Act.

170. Acts or practices are unfair under Section $ of the FTC Act if they cause, or are
likely to cause, substantial injury to consumers that consumers cannot reasonably avoid and that
is not outweighed by countervailing benefits to consumers or competition. 15 U.S.C. § 45(n).

COUNT I — Deceptive Representations

171. In numerous instances, in the course of marketing, offering for sale, and selling
Google listing or search engine optimization services, Defendants represent or have represented,
expressly or by implication, that:

A. Defendants are authorized by, or affiliated with, Google.

B. ~ Consumers’ businesses are in imminent danger of being marked
permanently closed by Google or removed from Google’s search results
because consumers have not “claimed and verified” those businesses with

Google.

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Defendants, as part of claiming and verifying the consumers’ businesses,
can assign certain keywords to those businesses that will result in the
prominent display of the businesses’ websites or listings.

Defendants can guarantee prominent, first-page, or first-place placement
in Google search results to consumers who pay for the Defendants’

Citation Program.

172. In truth and in fact:

A.

iB.

Defendants are not authorized by, or affiliated with, Google.

Consumers’ businesses are not in imminent danger of being marked
permanently closed by Google ot removed-from Google’s search results.
Defendants cannot, as part of claiming and verifying consumers’
businesses, assign to those businesses certain keywords that will result in
the prominent display of the businesses’ websites or listings.

Defendants cannot guarantee prominent, first-page, or first-place
placement in Google search results to consumers pay for the Defendants’

Citation Program.

173. Therefore, Defendants’ representations as set forth in Paragraph 171 are false,

misleading, or were not substantiated at the time they were made, and thus, they constitute

deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

COUNT II ~ Unfair Billing Practices

174. As described in Paragraphs 85-87, in numerous instances, Defendants have

obtained consumers’ bank account information and caused billing information to be submitted

for payment on those accounts without consumers’ authorization.

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175. Defendants’ actions caused substantial injury to consumers that consumers could
not reasonably avoid and that is not outweighed by countervailing benefits to consumers or
competition.

176. Therefore, Defendants’ practices described in Paragraph 174 of this Complaint
constitute unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a)
and 45(n).

CONSUMER INJURY

177. Consumers have suffered and will continue to suffer substantial injury as a result
of Defendants’ violations of the FTC Act. In addition, Defendants have been unjustly enriched
as a result of their unlawful acts or practices. Absent injunctive relief by this Court, Defendants
are likely to continue to injure consumers, reap unjust enrichment, and harm the public interest.

THIS COURT’S POWER TO GRANT RELIEF

178. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant
injunctive and such other relief as the Court may deem appropriate to halt and redress violations
of any provision of law enforced by the FTC. The Court, in the exercise of its equitable
jurisdiction, may award ancillary relief, including rescission or reformation of contracts,
restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and
remedy any violation of any provision of law enforced by the FTC.

PRAYER FOR RELIEF

Wherefore, Plaintiff FTC, pursuant to Section 13(b) of the FTC Act, 15 U.S.C. § 53(b),
and the Court’s own equitable powers, requests that the Court:

A, Award Plaintiff such preliminary injunctive and ancillary relief as may be

necessary to avert the likelihood of consumer injury during the pendency of this action and to

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preserve the possibility of effective final relief, including but not limited to temporary and
preliminary injunctions, and an order providing for immediate access, the turnover of business
records, an asset freeze, the appointment of a receiver, and the disruption of domain and
telephone services;

B. Enter a permanent injunction to prevent future violations of the FTC Act by
Defendants;

Cc. Award such relief as the Court finds necessary to redress injury to consumers
resulting from Defendants’ violations of the FTC Act, including but not limited to, rescission or
reformation of contracts, restitution, the refund of monies paid, and the disgorgement of ill-
gotten monies; and

D. Award Plaintiff FTC the costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.

Respectfully submitted,

ALDEN F. ABBOTT
Acting General Counsel

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Evan M. Mendelson, Special Bar No. A5502430
Christopher J. Erickson, Special Bar No. A5502434
Brian M. Welke, Special Bar No. A5502432
Federal Trade Commission

600 Pennsylvania Ave. NW

Mailstop CC-9528

Washington, DC 20580

(202) 326-3320; emendelson@ftc.gov

(202) 326-3671; cerickson@ftc.gov

(202) 326-2897; bwelke@fic.gov

Fax: (202) 326-3197

Attorneys for Plaintiff

FEDERAL TRADE COMMISSION

Dated: May 7, 2018

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J8 44. (Rev, 06/17) FLSD Revised 06/01/2017 CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of | required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September I K Rates rar the us the use of the Clerk at Conte for the purpose

of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM, NOTICE: Attorneys MUST fadieate All Re-filed Cases Below.

I. (a) PLAINTIFFS federal Trade Commission _ DEFENDANTS Pointbreak Media, LLC, et al.
(b) County of Residence of First Listed Plaintiff ‘County of Residence of First Listed Defendant Broward
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‘(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (Known) . ;
Evan Mendelson, Christopher Erickson, & Brian Welke, FTC, 600 Oo MAY 0 F203

Pennsylvania Ave NW, Washington, DC 20580, (202) 326-3320
(d) Check County Where Action Arose: [J MIAMI-DADE [] MONROE gf BROWARD [J PALM BEACH OJ MARTIN CUST.LUCIE [1 INDIAN

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VI. RELATED/ _(See instructions): a) Re-filed Case OYES WNO- - b)RelatedCases OYES ¥4 NO
RE-FILED CASE(S) JUDGE: - DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (De not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 15 U.S.C. §§ 45(a), 53(b); Deceptive sale of Google listing and search engine optimization services

LENGTH OF TRIAL via5 days estimated (for both sides to try entire case)

VIII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION ea,
COMPLAINT: DO GNDERFRCP.23 DEMAND $ CHECK YES only if demanded in complaint:

JURY DEMAND: Cl Yes 0 No

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE .

517/218 ES nA

ee
FOR OFFICE USE: ONLY
RECEIPT # AMOUNT IFP JUDG! MAG JUDGE

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GENOVESE
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*rroawene Anew Colleen M. Hopkins, ACP, FRP

Phone: 954,453,8016

Email: chopkins@gjb-law.com

September 4, 2018
AS-NC-~ SF)
Sent Via Federal Express ? i g 7

United States District Court
Middle District of Pennsylvania
235 North Washington Avenue
Scranton, PA 18503

Phone: (570) 207-5600

RE: Miscellaneous Matter
To Whom it May Concern:

Pursuant to the District Court, Southern District of Florida’s, Stipulated Preliminary
Injunction [DE #170] and pursuant to 28 U.S.C. §754 (Property of the Receiver), please find the
enclosed pleadings with the Miscellaneous filing fee check in the amount of $47.00 to be filed in
the Middle District of Pennsylvania.

Please contact me with any questions or concerns.

Sincerely,

+

olieen M. Hépkins

Enclosure(s)

1{10675-007/2917815/11
200 East Broward Boulevard, Suite 1110 * Fort Lauderdale, Florida 33301 ¢ Telephone: 954.453.8000 ¢ Facsimile 954.453.8010

ORIGNIDHWOA (654) 453-8000 DATE: OSSEP18
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70 U.S DISTRICT COURT MIDDLE DISTRICT

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